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Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                    )          Chapter 11
                                                          )
MIAMI METALS I, INC., et al.,1                            )          Case No. 18-13359 (SHL)
                                                          )          (Jointly Administered)
                                Debtors.                  )
                                                          )


                 NOTICE OF (A) OCCURRENCE OF THE EFFECTIVE DATE
                OF PLAN, (B) DEADLINE TO FILE ADMINISTRATIVE CLAIMS
                AND (C) DEADLINE TO FILE REJECTION DAMAGES CLAIMS

A.         Notice of Occurrence of Effective Date.

       PLEASE TAKE NOTICE that on December 23, 2019 (the "Confirmation Date"), the
United States Bankruptcy Court for the Southern District of New York (the "Bankruptcy Court")
entered its Findings of Fact, Conclusions of Law, and Order Pursuant to Sections 1129(a)
and (b) of the Bankruptcy Code and Rule 3020 of the Federal Rules of Bankruptcy Procedure
Confirming Debtors' Second Amended Joint Chapter 11 Plan of Liquidation (the "Confirmation
Order") [ECF No. 1668].2 Unless otherwise defined in this Notice, capitalized terms used herein
shall have the meanings ascribed to them in the Second Amended Joint Chapter 11 Plan of


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites
206 and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW
38th Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company, LLC), 5295
Northwest 163rd Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC),
12900 NW 38th Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW
38th Avenue, Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue,
Miami, FL 33054 (1507); Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054
(4696); Miami Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054
(6102); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001
China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro
Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
2
    Defined terms from the Confirmation Order are incorporated by reference herein.


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Liquidation of Debtors [ECF No. 1491-2] (including the exhibits thereto, and all documents and
agreements executed pursuant thereto, and as modified from time-to-time, the "Plan").

        PLEASE TAKE FURTHER NOTICE that pursuant to section 1141 and other applicable
provisions of the Bankruptcy Code, as a result of the occurrence of the Effective Date, the
provisions of the Plan and the Confirmation Order are binding on (i) the Debtors and their
estates, (ii) the Litigation Trustee, (iii) all holders of Claims against and Equity Interests in the
Debtors that arose before or were filed as of the Effective Date, whether or not impaired under
the Plan and whether or not, if impaired, such holders accepted the Plan or received or retained
any property under the Plan, (iv) all non-Debtor parties to executory contracts and unexpired
leases with any of the Debtors, and (v) each person acquiring or receiving property under the
Plan.

      PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on
January 7, 2020, and as a result, the Plan has been substantially consummated.

       PLEASE TAKE FURTHER NOTICE that any party-in-interest wishing to obtain a copy
of the Confirmation Order, the Plan, the Plan Supplement, or other documents filed in these
chapter 11 cases may obtain such copies: (i) at https://www.donlinrecano.com/home/activecases
by clicking on "Miami Metals I, Inc." or (ii) by contacting Donlin Recano & Company, Inc. at
(212) 771-1128.

B.       Notice of Deadlines for Filing Administrative and Professional Fee Claims.

        PLEASE TAKE FURTHER NOTICE that, as provided in Article II.4 of the Plan, all
requests for compensation or reimbursement of Administrative Claims, including Professional
Claims, pursuant to sections 327, 328, 330, 331, 503 or 363 of the Bankruptcy Code for services
rendered prior to the Effective Date shall be filed and served on the Litigation Trustee, her
counsel, and the United States Trustee no later than the Administrative Claims Bar Date, i.e., no
later than February 6, 2020. Objections to any Administrative Claims must be filed and served
on the Litigation Trustee, her counsel, and the requesting party no later than sixty (60) days (or
such longer period as may be allowed by order of the Court) after the Effective Date, except that
objections to Professional Fee Claims must be filed no later than thirty (30) days after the
Administrative Claims Bar Date.

C.       Notice of Deadline for Filing Rejection Damages Claims.

        PLEASE TAKE FURTHER NOTICE that, as provided in Article VI.2 of the Plan, proofs
of claim for any damages arising from the rejection of an executory contract or unexpired lease
under Article VI.1 of the Plan pursuant to section 365 of the Bankruptcy Code (“Rejection
Damage Claim”) must be filed with the Bankruptcy Court within thirty (30) days after the
mailing of this Notice, i.e., by February 7, 2020. Unless a Rejection Damage Claim is timely
filed and served by no later than thirty (30) days after the mailing of this Notice, such Rejection
Damage Claim shall be forever barred and shall not be enforceable against the Debtors, their
Estates, the Litigation Trust, the Litigation Trustee, any other Person or Entity, or any of their
respective property.



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       PLEASE TAKE FURTHER NOTICE that, on November 9, 2019, the Debtors filed a
schedule (the “Assumption Schedule”) attached as Exhibit B to the Plan Supplement [ECF No.
1555] setting forth the executory contracts to be assumed by the Debtors upon the Effective
Date, subject to the terms and conditions of the Confirmation Order.

        PLEASE TAKE FURTHER NOTICE that, in accordance with Article 6 of the Plan, all
executory contracts and unexpired leases to which the Debtors are parties were deemed rejected
as of the Effective Date, unless such contract or lease (a) was previously assumed or rejected by
the Debtors pursuant to an order of the Bankruptcy Court, (b) previously expired or terminated
pursuant to its own terms or by agreement of the parties thereto, (c) was the subject of a motion
to assume filed by the Debtors on or before the Confirmation Date, or (d) was specifically
designated as a contract or lease to be assumed on the Assumption Schedule.

Dated: January 8, 2020
                                           AKERMAN LLP

                                           By:     /s/Katherine C. Fackler
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                                                   Andrea S. Hartley
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                                                   -and-

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